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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                CENTRAL \DIVISION

 KENYA THOMPSON                                   *
                             PLAINTIFF            *
                                                  *
 V.                                               *    CASE NO. 4:18CV00905 SWW
                                                  *
 UNION PACIFIC RAILROAD COMPANY                   *
                                                  *
                             DEFENDANT            *

                                             ORDER

       Before the Court are Plaintiff’s motion and amended motion [ECF Nos. 33, 36],

requesting an extension of pretrial deadlines and a continuance of the trial date. The time for

responding has expired, and Defendant has not filed a response. After careful consideration, the

motions will be granted.

        Plaintiff filed a motion to compel discovery on September 19, 2019 [ECF No. 20], and

the parties have continued to file briefs regarding the motion, the last being Defendant’s sur-

reply filed on December 13, 2019 [ECF No. 39]. It appears that briefing has now concluded, and

the motion to compel is ready for a decision, which will be forthcoming. In support of her

motion for a continuance and extension of deadlines, Plaintiff states that the pending discovery

dispute has prevented her from prosecuting her claims and preparing for trial. The Court finds

that the motions [ECF Nos. 33, 36] should be and they are hereby GRANTED. The Court will

set a new trial date and deadlines in a separately-filed, amended scheduling order.

       IT IS SO ORDERED THIS 16th DAY OF DECMBER, 2019.

                                                      /s/Susan Webber Wright
                                                      UNITED STATES DISTRICT JUDGE
